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Plaintiff Pro Se



                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
CHECKMATE.COM, INC.,
  Plaintiff,
                                                                Case No: 1:25-cv-03181-JMF



                                                                (Originally Filed in the Supreme
-against-                                                       Court of the State of New York,
                                                                County of New York)
ARJUN VASAN,
  Defendant.
------------------------------------------------------------x

DEFENDANT’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
COMPLAINT


TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK:




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   Defendant Arjun Vasan, appearing pro se, respectfully moves this Court for an extension
   of time to respond to the Complaint pursuant to Federal Rule of Civil Procedure
   6(b)(1)(B), and states the following:


1. This action was removed from New York state court to this Court by Defendant via pro se
   email submission on April 12, 2025.
2. The Notice of Removal was not accepted and docketed by the Clerk of Court until April
   17, 2025.
3. Pursuant to Federal Rule of Civil Procedure 81(c)(2), Defendant understands the deadline
   to respond runs from the date of docketing.
4. However, out of an abundance of caution and in the event the Court considers April 12
   the operative filing date, Defendant files this motion within the potential 7-day response
   window under Rule 81(c)(2)(C).
5. Defendant is currently prosecuting a related civil matter as a pro se plaintiff in the Central
   District of California and managing both cases without legal counsel.
6. Due to the complexity of the litigation and a good-faith miscalculation of the response
   deadline, Defendant respectfully requests a brief extension of 14 days, through and
   including May 3, 2025, to file a responsive pleading.
7. This request is made in good faith and not for the purpose of delay. No party will be
   prejudiced by the requested extension.




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Dated: April 19, 2025                Respectfully submitted,
In: Cerritos, California




                               By:   /s/ Arjun Vasan
                                     ________________________
                                     Arjun Vasan
                                     Defendant, Pro Se




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[PROPOSED] ORDER




Upon consideration of Defendant Arjun Vasan’s Motion for Extension of Time to
Respond to the Complaint, and for good cause shown, it is hereby:




ORDERED that the Motion is GRANTED.


Defendant shall file a responsive pleading on or before May 3, 2025.
The Clerk of Court is directed to terminate ECF No. 7 and mail a copy of this Order to the Defendant.



SO ORDERED.




        April 22, 2025
Dated: ________________


New York, New York




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